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FOR THE WESTERN DISTRICT OF TENNESS
WESTERN DIVISION

IN THE UNITED sTATEs DISTRICT coU :BY_* %D_c_

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CHRISTIAN CORTEZ,
Plaintiff,
VS. NO. 05~2130-Ml/P

DRUG ENFORCEMENT ADMINISTRATION,
et al.,

Defendants.

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ORDER TO COMPLY WITH PLRA
OR PAY FULL $150 CIVIL FILING FEE

 

Plaintiff Christian Cortez, Bureau of Prisons inmate
registration 15264-076, an inmate at the Federal Correctional
Institution~McKean (“FCI~»McKean”)1 in Bradley, Pennsylvania, filed a
prp §§ petition for a writ of mandamus pursuant to 28 U.S.C. § 1361 on
February 14, 2005. The Court issued an order on July 15, 2005 that
corrected the docket to name the correct defendants and directed the
plaintiff, within thirty (30) days, to comply with the Prison
Litigation Reform Act of 1995, 28 U.S.C. §§ 1915(a)-(b), or pay the
$150 civil filing fee. The plaintiff filed the required documents on
August 4, 2005.

I. Assessment of Filinq Fee
Under the PLRA, 28 U.S.C. § 1915(b), all prisoners bringing

a civil action must pay the full filing fee of $150 required by 28

 

1 The word “prison” is used in this order to refer to all places of
confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

This document entered on the docket sheet in compliance

with ama 53 and/or 79(3) FHCP on §§ 'g,§/Os’

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U.S.C. § l9l4(a).2 The ip ;p;ma pauperis statute, 28 U.S.C. § 1915(a),
merely provides the prisoner the opportunity to make a “downpayment”
of a partial filing fee and pay the remainder in installments.

In this case, plaintiff has properly completed and submitted
both an ip fprma pauperis affidavit and a prison trust fund account
statement. Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED that the
plaintiff cooperate fully with prison officials in carrying out this
order. lt is further ORDERED that the trust fund officer at plaintiff's
prison shall calculate a partial initial filing fee equal to twenty
percent (20%) of the greater of the average balance in or deposits to
the plaintiff’s trust fund account for the six months immediately
preceding the completion of the affidavit. When the account Contains
any funds, the trust fund officer shall collect them and pay them
directly to the Clerk of Court. If the funds in plaintiff's account are
insufficient to pay the full amount of the initial partial filing fee,
the prison official is instructed to withdraw all of the funds in the
plaintiff's account and forward them to the Clerk of Court. On each
occasion that funds are subsequently credited to plaintiff’s account
the prison official shall immediately withdraw those funds and forward
them to the Clerk of Court, until the initial partial filing fee is
paid in full.

It is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff’s account and pay to the Clerk of this Court monthly payments

equal to twenty percent (20%) of all deposits credited to plaintiff’s

 

2 Because this complaint was filed prior to March 7, 2005, the new filing
fee of $250 is not applicable.

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account during the preceding month, but only when the amount in the
account exceeds $10.00, until the entire $150.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy' of the
prisoner’s account statement showing all activity in the account since
the last payment under this order and file it with the Clerk along with
the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, 167 N. Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiff’s name and the case number on the
first page of this order.

If plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of his change
of address. If still confined he shall provide the officials at the new
prison with a copy of this order.

If the plaintiff fails to abide by these or any' other
requirement of this order, the Court may impose appropriate sanctions,
including a monetary fine, without any additional notice or hearing by
the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's prison.
The Clerk is further ORDERED to forward a copy of this order to the
warden of the FCI-McKean to ensure that the custodian of the
plaintiff's inmate trust account complies with that portion of the PLRA

pertaining to the payment of filing fees.

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II. Issuance of Service

It is ORDERED that the Clerk shall issue process for the
defendants and deliver said process to the marshal for service. A copy
of this order shall be served on the defendants along with the summons
and complaint. Service shall be made on the Drug Enforcement
Administration pursuant to Fed. R. Civ. P. 4(i)(2)(A), and service on
defendant Mundy shall be made pursuant to fed. R. Civ. P. 4(i)(2)(B).
All costs of service shall be advanced by the United States.

It is further ORDERED that the plaintiff shall serve a copy
of every further document filed in this cause on the attorney for each
defendant, or on any defendant that has no attorney. The plaintiff
shall make a certificate of service on every document filed. The
plaintiff shall familiarize himself with the Federal Rules of Civil
Procedure and this Court's Local Rules.

The plaintiff shall promptly notify the Clerk of any change
of address or whereabouts. Failure to comply with these requirements,
or any' other order of the Court, may' result in this case being
dismissed without further notice. `

IT IS SO ORDERED this ég;l day Of August, 2005.

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JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02130 Was distributed by faX, mail, or direct printing on
August 23, 2005 to the parties listed.

 

Christian Cortez
FCI-MCKEAN
15264-076

P.O. BOX 8000
Bradford, PA 16701

Honorable J on McCalla
US DISTRICT COURT

